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lN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
Mary K. l\/[oser,
Plaintiff,
V` Case No.
Sean W. Scott, lndividually, and
W Lavv, P.A.
Defendants. /

 

DEFENDANTS’ NOTICE OF FILING REM()VAL

Pursuant to 28 U.S.C. §§ 1331, l44l, and 1446, Defendants5 SEAN W. SCOTT AND
W LAW, P.A. (“Defendants”), hereby give notice of removal of the case styled Mary K.
Moser v Secm W. Scott and W Law, P.A., Case No. l4-Ol752-Cl-l9, currently pending in
Circuit Court for the SiXth Judicial Circuit in and for Pinellas County, Florida, to the United
States District Court for the l\/liddle District of Florida, Tampa Division. As grounds,
Defendants state as follows:

l. SEAN W. SCOTT AND W LAW, P.A. are Defendants in a civil action
brought against them in the Circuit Court for the SiXth Judicial Circuit in and for Pinellas
County, Florida entitled Mary K. Moser v Sean W. Scol‘l and W Law, P.A., Case No. 14-
Ol752~CI-l9. A copy of the Summons and Complaint, Which Were served upon Defendants
less than thirty (30) days ago, together With all documents Which Were filed With the Court,
are attached hereto as Exhibit A. This constitutes all processes, pleadings, and orders served
in that case. A copy of the Notice being contemporaneously filed in the SiXth Judicial

Circuit in and for Pinellas County, Florida is attached hereto as Exhibit B.

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2. The Complaint purports to assert a violation of federal Wage and hour laWs,
pursuant to 29 U.S.C. §§ 207, 215, and 216(b) (“FLSA”). The Complaint asserts a federal
question under 28 U.S.C. § 1331 and is removable under 28 U.S.C. § l44l(a). This Court
has jurisdiction Without regard to the amount in controversy or the citizenship of the parties

3. Venue is proper in this Court pursuant to the Local Rules of the United States
District Court for the Middle District of Florida.

4. This Notice is being filed vvithin thirty (30) days of Defendant’s receipt of the
Summons and Complaint and is therefore timely filed under 28 U.S.C. § l446(a).

WHEREFORE, Defendants, SEAN W. SCOTT AND W LAW, P.A., give notice that
the above action novv pending against it in the Circuit Court for the SiXth Judicial Circuit in
and for Pinellas County, Florida is removed therefrom to this Court.

DATED: April ll, 20l4. Respectfully submitted by,

/S/J. Robert i“v{cCormack

 

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on April ll, 2014, l filed the foregoing With the Clerk of
Court and that a true and correct copy of the foregoing has been furnished via U.S. l\/Iail,
postage prepaid, and electronic mail upon the following:
JOHN L. l\/IALONEY
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/s/J Robert McCormac/c

 

Attorney

17579416.1

